Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 1 of 17




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No: 9:16-cv-80060-MARRA

   BRANDON LEIDEL, and
   MICHAEL WILSON, individually,
   and on behalf of All Others Similarly
   Situated,

          Plaintiffs,
   v.

   PROJECT INVESTORS, INC.,
   d/b/a CRYPTSY, a Florida corporation,
   PAUL VERNON, an individual,
   LORIE ANN NETTLES, an individual,
   RIDGEWOOD INVESTMENTS, INC.,
   a New Jersey corporation, and
   KAUSHAL MAJMUDAR, individually,

         Defendants.
   ______________________________________/




          CLASS COUNSEL’S MOTION FOR ATTORNEYS’ FEES, EXPENSES,
        AND SERVICE AWARDS, AND INCORPORATED MEMORANDUM OF LAW
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 2 of 17




        I.        INTRODUCTION

          Class Counsel Wites & Kapetan, P.A., and Silver Law Group respectfully move pursuant

   to Federal Rule of Civil Procedure 23(h) for an order awarding attorneys’ fees in the amount of

   33.33% of the Settlement Fund less the amount of attorney’ fees paid to the Receiver and

   Receiver’s Counsel, as well as expenses. Relatedly, Class Representatives Brandon Leidel and

   Michael Wilson also move for an order granting incentive awards of $500 for each of the two

   Class Representatives.

          The Settlement Agreements entered into with Defendants Lorie Ann Nettles, Ridgewood

   Investments, Inc., and Kaushal Majmudar (see D.E. 73-1 and 96-1, respectively; collectively “the

   Settlement”) provide that, subject to court approval, “Plaintiffs’ Lead Counsel may submit a Fee

   and Expense Application which includes (a) a request for attorney’s fees not to exceed 33.33%

   of the Settlement Fund and (b) reimbursement of expenses and costs incurred, or to be incurred,

   in connection with prosecuting the Action.” Id. at Section V(B).

          Importantly, Co-Lead Counsel and the Receiver (including the Receiver’s counsel and all

   other lawyers working on behalf of the Receiver) are extremely cognizant of the issue of legal

   fees and expenses and have agreed that they collectively will do everything within reason to limit

   their legal fees, expenses and costs, including Co-Lead Counsel’s intention to reduce their

   contingency fee percentage and the Receiver’s intention to discount certain billing. To that end,

   and as previously represented in Court and in the Notice to the Class, Co-Lead counsel have

   committed to and will reduce their attorney’s fee application such that that the amount Co-

   Lead Counsel seeks in attorney’s fees, when coupled with the attorney’s fees sought by the

   Receiver and Receiver’s Counsel, will not cause the total amount of attorney’s fees paid

   from the Settlement Fund to exceed 33.33% of the Settlement Fund.




                                                  -1-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 3 of 17




          As noted in Plaintiffs’ Motion for Final Approval of Class Action Settlement, Class

   Counsel requests that the Court refrain from entering an Order that directs the distribution of any

   monies at this time to the Class, Class Representatives, Class Counsel, or the Receiver because,

   as set forth in detail below, they are still in the process of liquidating the assets that comprise the

   Settlement Fund. Plaintiffs, Class Counsel and the Receiver respectfully suggest that the Court

   allow them until July 14, 2017 to complete the liquidation of the assets, at which time Plaintiffs

   and the Receiver will submit a supplemental motion detailing the proposed plan for the

   itemization and distribution of the Settlement Fund. As a result, Class Counsel will refer in this

   Motion to the attorney’s fees sought as the “Attorney’s Fees”, which means 33.33% of the

   Settlement Fund less the attorney’s fees paid to Receiver and Receiver’s Counsel.

          Defendants Lorie Ann Nettles, Ridgewood Investments, and Kaushal Majmudar (the

   “Settling Defendants”) have agreed not to oppose an application for fees and expenses.

   Defendant Paul Vernon has not participated in any way in these proceedings and was defaulted

   by the Court (D.E. 51) for his failure to participate.

    II.   CLASS COUNSEL SHOULD BE AWARDED REASONABLE FEES AND
          COSTS AND PLAINTIFFS THE REQUESTED INCENTIVE AWARD

          For their extensive work prior to the filing of the Complaint and throughout the pre-trial

   and settlement phases of this litigation, Class Counsel seek attorneys’ fees equal to 33.33% of

   the monetary settlement benefits provided to the class, less the amount of attorney’s fees paid to

   the Receiver and Receiver’s Counsel, and reimbursement of expenses and costs incurred.

          Class Counsel and the Receiver have committed that their collective request for

   attorney’s fees will not exceed 33.33% of the Settlement Fund (i.e., the Common Fund). To date,

   the Receiver has applied for attorney’s fees for himself, his Deputy Receiver, and his counsel in




                                                    -2-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 4 of 17




   the amount of $121,808.50 (see Motions at D.E. 87), and expects to submit a final attorney’s fee

   request of approximately $45,000.

          Based on Class Counsel’s estimate that upon liquidation of all assets by the Receiver and

   Class Counsel that the Common Fund will total approximately $1,500,000. As a result, and

   assuming that the Settlement Fund totals $1,500,000, Class Counsel’s Attorney’s Fee request

   will be approximately 22% of the Common Fund, as the Receiver will have received, if approved

   by the Court, attorney’s fees that represent approximately 11% of the Settlement Fund. Such an

   award to Class Counsel will represent approximately 69% of their total lodestar of $476,100; the

   requested fee award not only does not include a multiplier on Class Counsel’s lodestar, but is

   significantly less than their lodestar. See Declaration of Marc A. Wites (“Wites Dec.”) at ¶¶17-25

   and Declaration of David C. Silver (“Silver Dec.”) at ¶¶11-19.

          A.      The Court Should Award the Requested Attorneys’ Fees and Expenses.

          Class counsel is entitled to an attorney’s fee for the benefit obtained in a class settlement.

   Boeing Co. v. Van Gemert, 444 U.S. 472, 478, 676 (1980); see David v. Am. Suzuki Motor Corp.,

   No. 08–CV–22278, 2010 WL 1628362 (S.D. Fla. Apr. 15, 2010)(settlement with ascertainable

   benefits may be treated as a common fund to which a percentage fee may be awarded, even if the

   fee is separately paid by the defendant). The United States Supreme Court and the Eleventh

   Circuit Court of Appeals expressly approve of calculating attorney’s fees by applying the

   “percentage-of-recovery” method (or “common fund” method) to the total monetary value of the

   settlement. See, e.g., Montoya v. PNC Bank, N.A., No. 14-20474-CIV-GOODMAN, 2016 U.S.

   Dist. LEXIS 50315, at *53-54 (S.D. Fla. Apr. 13, 2016)(citing Boeing v. Van Gemert, 444 U.S.

   472, 478 (1980); Waters v. Int’l Precious Metals Corp., 190 F.3d 1291, 1295-96 (11th Cir.

   1999)); Camden I Condo. Ass’n v. Dunkle, 946 F.2d 768 (11th Cir. 1991). The percentage




                                                   -3-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 5 of 17




   applies to the total benefits provided, even where the actual payments to the class following a

   claims process is lower. See Waters v. Int'l Precious Metals Corp., 190 F.3d 1291, 1295-96 (11th

   Cir. 1999).

          “[F]ederal district courts across the country have, in the class action settlement context,

   routinely awarded class counsel fees in excess of the 25 percent ‘benchmark,’ even in so-called

   ‘mega-fund’ cases.” Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1210 (S.D.

   Fla. 2006)(emphasis added; awarding fees of 31½% of settlement fund). Here, the requested

   percentage is easily within the range provided by the Eleventh Circuit. See Camden I, 946 F. 2d

   at 774 (20%–50% of the value provided); David, 2010 WL 1628362 at *8 n.15 (20%-50% of

   common fund is “the customary fee in class actions that result in substantial benefits”).

          The “percentage of recovery” method is used because it encourages counsel to obtain the

   maximum recovery at the earliest possible stage and, hence, most fairly correlates counsel’s

   compensation to the benefit achieved. There is no “hard and fast” rule setting a reasonable

   percentage of the recovery to the award “because the amount of any fee must be determined

   upon the facts of each case.” Camden I, 946 F.2d at 775. 1 Using the common benefit approach,

   the benchmark for a reasonable class counsel fee is 25%. Id. at 774. This benchmark may be

   adjusted up or down based on the circumstances of the case, using the factors set forth in

   Johnson v. Ga. Highway Express, Inc., 448 F.2d 714 (5th Cir. 1974); Camden I, 946 F.2d at 774-

   75; Waters, 190 F.3d at 1294.

          The Eleventh Circuit’s factors for evaluating the reasonable percentage to award class-

   action counsel are: (1) the time and labor required; (2) the novelty and difficulty of the questions

   involved; (3) the skill requisite to perform the legal service properly; (4) the preclusion of other
   1
    In this regard, the Eleventh Circuit expressly noted that “an upper limit of 50% of the fund may
   be stated as a general rule, although even larger percentages have been awarded.” Id. at 774-75.



                                                   -4-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 6 of 17




   employment by the attorney due to acceptance of the case; (5) the customary fee; (6) whether the

   fee is fixed or contingent; (7) time limitations imposed by the client or the circumstances; (8) the

   amount involved and the results obtained; (9) the experience, reputation, and ability of the

   attorneys; (10) the “undesirability” of the case; (11) the nature and the length of the professional

   relationship with the client; and (12) awards in similar cases. Camden I, 946 F.2d at 772 n.3.

   The Court may also consider the time required to reach settlement, the existence of substantial

   objections from class members, the existence of non-monetary benefits of the settlement, and the

   economics involved in prosecuting a class action. Id. at 775. As explained below, the factors set

   forth in Camden I support the full award requested in this case.

           1.     First Factor: The Time and Labor Required

           Prosecuting and settling this action demanded considerable time and labor from Class

   Counsel, which began with interviewing Plaintiffs and investigating their potential claims. By

   the time the Settlement was reached, Class Counsel had: conducted case investigation and

   assessment of the factual and legal bases of the action; communicated with the class

   representatives and hundreds of class members; 2 drafted an initial and amended Complaint;

   opposed Defendant Nettles’ Motion to Dismiss the lawsuit; moved for injunctive relief; moved

   for the appointment of the Receiver; engaged in discovery with parties and non-parties; moved

   for class certification; engaged in settlement negotiations and participated in two mediations;

   prepared and negotiated settlement documents; prepared motions and briefs in support of

   approval of the Settlement; and engaged in such other activity as is reflected on the docket of this

   case.

   2
           Class Counsel also fielded inquiries, both by email and phone, from more than 500 Class
   Members. Class Counsel communicated with class members by phone and email both prior to
   and after the announcement of the settlements, and such communications were primarily handled
   by Marc Wites and David Silver, rather than associates and non-lawyer staff.


                                                   -5-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 7 of 17




          In connection with these efforts, Class Counsel expended a total of 955.30 hours, not

   including the additional time that will be required to conclude the matter, implying a total

   lodestar of $476,100. Wites Dec. at ¶¶17-25; Silver Dec. at ¶¶11-19. While not required in the

   Eleventh Circuit, an analysis of the requested fee under the “lodestar/multiplier” approach

   further supports the reasonableness of the award. Waters, 190 F.3d at 1298 (“[W]hile we have

   decided in this circuit that a lodestar calculation is not proper in common fund cases, we may

   refer to that figure for comparison”).

          In short, Class Counsel’s investment of time and expenses has always been at risk and

   wholly contingent on the result they achieved. The financial risks borne by Class Counsel to

   obtain this result fully support the fee requested.

                  2.      Second Factor: The Novelty and Difficulty of the Questions at Issue

          The record makes clear that this case presents novel and complex questions of law and

   fact. Class action matters are generally complex, but this one is particularly so, involving: the

   exchange, investment, and trade of digital cryptocurrencies and ensuing claims for conversion,

   negligence, unjust enrichment, specific performance, violation of Florida’s Deceptive and Unfair

   Trade Practices Act, preliminary and permanent injunction, fraudulent conveyance and

   conspiracy. Further, this case presented unique and difficult issues such as Class Counsel’s

   request for the appointment of a Receiver, the coordinated and joint efforts of Class Counsel and

   a Receiver, and litigating against and negotiating settlements with parties other than the main

   perpetrator – Defendant Vernon – in order to obtain fair and meaningful relief for the Class. The

   difficulty of litigating these issues amply supports the Attorney Fee award requested.




                                                    -6-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 8 of 17




          3.      Third Factor: The Skill, Experience, and Reputation of Class Counsel

          The quality of the representation by Class Counsel and the standing of Class Counsel are

   important factors that support the reasonableness of the requested fee, especially when

   considering the hourly rates of the attorneys. See Ressler, 149 F.R.D. at 654; see also Am. Suzuki

   Motor Corp., 2010 U.S. Dist. LEXIS 146073, at *26-29 n.15 (a court should consider “the skill

   and acumen required to successfully investigate, file, litigate, and settle a complicated class

   action lawsuit such as this one”).

          Class Counsel have established their skill, experience, and reputation in this record, and

   in repeated cases before this court. Beyond that, Class Counsel’s reputation, diligence, expertise,

   and skill are reflected in the results they have achieved. They resolved this dispute efficiently

   despite the hurdles presented to them and the arguments raised by the Settling Defendants, as

   detailed above. The quality of Class Counsel and their achievement in this case is equally shown

   by the strength of their opponents, Brinkley Morgan and Stearns Weaver Miller Weissler

   Alhadeff & Sitterson, P.A., both reputable firms known for the skill and achievements of their

   attorneys. This factor thus also favors awarding the requested fee.

          4.      Fourth Factor: Preclusion of Other Employment

          If counsel were precluded from taking on other cases, that fact can be a factor in

   supporting the fee application. See Montoya, 2016 U.S. Dist. LEXIS 50315, at *57 (finding as a

   factor in support of fee that “the law firms prosecuting the case are of small size . . . and thus the

   time devoted to the class action precludes other employment.”). Here, however, Class Counsel

   concede that this case did not preclude other employment and the fourth Johnson factor is not

   applicable.




                                                    -7-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 9 of 17




          5.      Fifth Factor: Customary Fee

          The “customary fee” in a class action lawsuit of this nature is a contingency fee

   (discussed more in the Sixth Factor below) because no individual class member possesses a

   sufficiently large stake in the litigation to justify paying attorneys on an hourly basis. See

   Ressler, 149 F.R.D. at 654; see also Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292, 1299

   (11th Cir. 1988). The Court should therefore give substantial weight to the contingent nature of

   Class Counsels’ fees when assessing the fee request. Behrens v. Wometco Enters., Inc., 118

   F.R.D. 534, 548 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990). “The percentage method of

   awarding fees in class actions is consistent with, and is intended to mirror, practice in the private

   marketplace where attorneys typically negotiate percentage fee arrangements with their clients.”

   Pinto v. Princess Cruise Lines, Ltd., 513 F. Supp. 2d 1334, 1340 (S.D. Fla. 2007).

          In individual cases, attorneys typically contract with clients for contingent fees between

   30 and 40 percent. These percentages are the prevailing market rates throughout the United

   States for contingent representation. See Pinto, 513 F. Supp. 2d at 1341 (citing, inter alia,

   Kirchoff v. Flynn, 786 F.2d 320, 323 (7th Cir. 1986)). In making a determination of what

   constitutes a fair percentage fee, this Court should be guided by those market rates and this

   Circuit’s benchmark standard. Gutter v. E.I. Dupont De Nemours & Co., No. 95-2152-CIV-

   GOLD, 2003 U.S. Dist. LEXIS 27238 (S.D. Fla. May 30, 2003) (33 ⅓ %); Waters, 190 F.3d

   (affirming 33⅓ %); Tapken v. Brown, No. 90-691-CIV-MARCUS, 1992 U.S. Dist. LEXIS

   11744 (S.D. Fla. Mar. 13, 1992)(33%).

          The requested fee here is far below the market rate for class actions. Class Counsel are

   reducing their fee request to an amount less than their lodestar. This factor weighs strongly in

   favor of awarding Class Counsel the requested Attorney’s Fee.




                                                   -8-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 10 of 17




          6.     Sixth Factor: Whether the Fee is Fixed or Contingent

          A determination of a fair fee for Class Counsel must include consideration of the

   contingent nature of the fee, the outlay of out-of-pocket expenses by Class Counsel, and the fact

   that the risks of failure and nonpayment in a class action are extremely high. See Pinto, 513 F.

   Supp. 2d at 1339. Class Counsel’s risk is the “foremost factor” in determining an appropriate fee

   award. See id. In Behrens, the court noted:

          Generally, the contingency retainment must be promoted to assure representation
          when a person could not otherwise afford the services of a lawyer . . . .
          A contingency fee arrangement often justifies an increase in the award of
          attorneys’ fees. This rule helps assure that the contingency fee arrangement
          endures. If this “bonus” methodology did not exist, very few lawyers could take
          on the representation of a class client given the investment of substantial time,
          effort, and money, especially in light of the risks of recovering nothing.

   118 F.R.D. at 548 (citations omitted). These factors weigh heavily in favor of awarding Class

   Counsel the Attorney’s Fee.

          Courts have consistently recognized that the risk of receiving little or no recovery is a

   major factor in determining the award of fees, and that skilled counsel should be encouraged to

   undertake this risk. In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1364 (S.D.

   Fla. 2011)(“Numerous cases recognize that the contingent fee risk is an important factor in

   determining the fee award.”); Pinto, 513 F. Supp. 2d at 1339 (“attorneys’ risk is ‘perhaps the

   foremost factor’ in determining an appropriate fee award”); Behrens, 118 F.R.D. at 548 (“A

   contingency fee arrangement often justifies an increase in the award of attorneys’ fees”). A

   determination of a fair fee for Class Counsel must include consideration of the contingent nature

   of the fee, the outlay of out-of-pocket expenses by Class Counsel, and the fact that the risks of

   failure and nonpayment in a class action are extremely high. See e.g., Pinto, 513 F. Supp. 2d at

   1339. This factor weighs strongly in favor of Class Counsel’s requested Attorney’s Fee.




                                                 -9-
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 11 of 17




          7.      Seventh Factor: Time Limitations

          The circumstances of this case required Class Counsel to work quickly and diligently to

   obtain relief for the Class because Vernon had fled to China after stealing or otherwise

   misappropriating millions of dollars of the Class’ cryptocurrency. To obtain relief for the Class,

   Class Counsel was required to seek the appointment of, and work with, a Receiver. Similarly,

   Class Counsel worked quickly to secure relief from the Class from Defendant Nettles, who is

   believed to have been the recipient - by virtue of her former marriage to Vernon - of certain

   funds derived from Cryptsy. Under these circumstances, it was appropriate to incur the fees on

   the pace incurred.

          8.      Eighth Factor: Results

          The result achieved for the class is the most important factor in assessing the

   reasonableness of a requested fee award. See, e.g., Hensley v. Eckerhart, 461 U.S. 424, 436

   (1983) (“most critical factor is the degree of success obtained”); Pinto, 513 F. Supp. 2d at 1342;

   Behrens, 118 F.R.D. at 547-48 (“The quality of work performed in a case that settles before trial

   is best measured by the benefit obtained.”); Ressler, 149 F.R.D. at 655 (“It is well-settled that

   one of the primary determinants of the quality of the work performed is the result obtained.”).

          The results here are excellent, particularly since this case involves a principal defendant

   (Vernon) who fled the country, is presently believed to be residing in the People’s Republic of

   China, and is believed to have hidden additional assets outside the United States. Additionally,

   the Settling Defendants were minority shareholders of Cryptsy and maintain that they were not

   involved in the day-to-day operations of the company. Thus, they claim to have been unaware of

   and had no knowledge of the fraud committed by Vernon and Cryptsy. These results are

   powerful evidence supporting the fee award.




                                                  - 10 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 12 of 17




          The Settlement also provides for benefits to Class Members now, without delay, which is

   a factor courts may consider in an evaluation of a fee request. “[M]uch of the value of a

   settlement lies in the ability to make [benefits] available promptly.” In re “Agent Orange” Prod.

   Liab. Litig., 611 F. Supp. 1396, 1405 (E.D.N.Y. 1985). This factor weighs strongly in favor of

   awarding Class Counsel the requested Attorney’s Fee.

          9.      Ninth Factor: Experience, Reputation and Skill of Counsel

          Lead Class Counsel Marc A. Wites has considerable experience with, and an excellent

   reputation in, class action litigation. A full biography of Mr. Wites accompanies the motion filed

   with this Court on October 18, 2016 (D.E. 72). Mr. Wites has been litigating class action

   lawsuits since 1994 in Florida’s federal and state courts and has been appointed as Class Counsel

   on numerous occasions.

          Similarly, Co-Class Counsel David Silver has considerable experience with, and an

   excellent reputation in, complex litigation and investor disputes. A full biography of Mr. Silver

   also accompanies the motion filed with this Court on October 18, 2016 (D.E. 72). Mr. Silver has

   spent more than fifteen years dedicating his practice to complex commercial litigation with an

   emphasis on business-related disputes. This factor weighs strongly in favor of awarding Class

   Counsel the requested Attorney’s Fee.

          10.     Tenth Factor: “Undesirability” of Taking the Case

          Class Counsel knew at the time they filed this case that it was undesirable because

   Vernon’s theft of the Class’ cryptocurrencies, and that he fled to China, was well known in the

   cryptocurrency world prior to filing suit. This proved true as Vernon refused to accept service of

   or otherwise participate in this lawsuit, even though he acknowledged its existence in comments

   on the Internet. (D.E. 9-1, 18). Moreover, the undesirability of this case is demonstrated by the




                                                 - 11 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 13 of 17




   fact that no other law firm filed a class action or individual action against Cryptsy or Vernon.

   Thus, this factor supports Class Counsel’s Attorney Fee request.

          11.     Eleventh Factor: Relationship with Client

          None of the Class Representatives have ever retained Co-Lead Counsel before. The

   representation of these individuals do not impact Co-Counsel’s cases. Class Counsel therefore

   concedes that this factor is likely not relevant here.

          12.     Factors 12 and 13: Awards in Similar Cases and Lodestar Cross-Check

          As discussed above, Class Counsel’s request for only 22% of the Common Fund, which

   represents approximately 69% of their total lodestar, is a lower fee than would be customarily

   appropriate on a percentage-of-recovery “common fund” basis.

          Where a settlement creates a common fund, courts of this circuit do not require a lodestar

   method for calculating class counsel fees, even as a “cross-check” on the reasonableness of a

   percentage fee. Checking Account Overdraft, 830 F. Supp. 2d at 1362 (“the lodestar approach

   should not be imposed through the back door via a ‘cross-check.’” (internal citations omitted)).

   “Under Camden I, courts in this Circuit regularly award fees based on a percentage of the

   recovery, without discussing lodestar at all.” Id. at 1363 (citation omitted).

          While not necessary here, if the Court were to choose to perform a lodestar cross-check,

   the requested attorney’s fee would be reasonable. Class Counsel incurred a combined total of

   $476,100 of lodestar in the prosecution of this case. The anticipated requested Attorney’s Fee of

   $330,000 implies a “negative multiplier” of 0.31, such that Class Counsel’s attorney fee request

   is approximately 69% of their lodestar. This is far lower than the typical range recognized in this

   district under similar circumstances. Pinto v. Princess Cruise Lines, Ltd., 513 F. Supp. 2d 1334

   (S.D. Fla. 2007)(noting lodestar multiples “in large and complicated class actions” range from

   2.26 to 4.5, while “three appears to be average” and “most lodestar multiples awarded in cases


                                                    - 12 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 14 of 17




   like this are between 3 and 4”). The implied multiplier will also decrease over time as Class

   Counsel incurs additional non-reimbursable time in finalizing and concluding the matter.

          B.      The Court Should Award the Requested Expenses

          Class Counsel incurred $15,630.85 in actual expenses in the prosecution of this action to

   date. Wites Dec. ¶20; Silver Dec. ¶15. As a courtesy to the Class Members, Class Counsel are

   waiving requests for expenses for legal research, telephone, copies, faxes, and scanning, and

   document hosting.

          The Claims Administrator has invoiced $27,013.72 through April 2017, and estimates

   that an additional $34,300 in billing through the conclusion of the case. These expenses are

   driven in large part by the significant response to the Notice, which resulted in the submission of

   more than 1,600 claims as of May 17, 2017. At the request of Class Counsel, the Claims

   Administrator has agreed on May 18, 2017 to reduce their total bill by 10%. Wites Dec. at ¶9.

          The types of expenses incurred were reasonable and necessary. In re China Sunergy Sec.

   Litig., No. 07 Civ. 7895 (DAB), 2011 WL 1899715, at *6 (S.D.N.Y. May 13, 2011)(in a class

   action, attorneys should be compensated “for reasonable out-of-pocket expenses incurred and

   customarily charged to their clients, as long as they were ‘incidental and necessary to the

   representation’”)(citation omitted); accord, Sanborn v. Nissan N. Am., Inc., No. 0:14-CV-62567,

   2017 U.S. Dist. LEXIS 2808, at *4 (S.D. Fla. Jan. 6, 2017)(awarding $348,000 in expenses,

   finding “Class Counsel’s expenses were of the variety typically billed to clients in the normal

   course of business.”).

          C.      An Incentive Award of $500.00 to each Class Representative Is Appropriate.

          The Court should approve an incentive award of $500 for each of the Representative

   Plaintiffs. The detailed notice advised class members that the Representative Plaintiff would




                                                  - 13 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 15 of 17




   apply for an incentive award of $500, and no class member has objected to this reasonable

   request. In instituting this litigation, the Representative Plaintiffs have acted as private attorneys

   general seeking a remedy for what appeared to be a public wrong. Pinto, 513 F. Supp. 2d at

   1344. Private class action suits are a primary weapon in the enforcement of laws designed for the

   protection of the public. Id. Approval of this award is warranted as a matter of policy, is

   appropriate under applicable precedents, and is well within the range of reasonableness.

   Gevaerts v. TD Bank, No. 1:14-CV-20744-RLR, 2015 WL 6751061, at *9 (S.D. Fla. Nov. 5,

   2015)($10,000 incentive award each to two sets of plaintiffs), citing Spicer v. Chi. Bd. of Options

   Exchange, Inc., 844 F.Supp. 1226, 1267-68 (N.D. Ill. 1993)(collecting cases approving incentive

   awards ranging from $5,000 to $100,000, and approving $10,000 for each plaintiff); City

   Pension Fund for Firefighters & Police Officers in the City of Miami Beach v. Aracruz Cellulose

   S.A., No. 08-23317-CIV-LENARD/TUR, D.E. 201 at 8 (S.D. Fla. Jul. 7, 2013)($40,000); Fuller

   v. Imperial Holdings, Inc., No. 9:11-cv-81184-KAM, D.E. 95 at 15 (S.D. Fla. Sept. 16,

   2013)($10,000); see also Cooper v. NelNet, Inc., 14-cv-314-RBD-DAB, Dkt. 85, p.5, ¶11 (M.D.

   Fla. Aug. 4, 2015)($25,000 incentive award).

                                             CONCLUSION

          Plaintiffs respectfully request the Court grant this motion for class counsel’s attorney’s

   fees and expenses and the representative plaintiffs’ incentive awards. As set forth in their Motion

   for Final Approval, Plaintiffs request that this Court defer enter a ruling authorizing the

   distribution of any Settlement Funds until after such time that Class Counsel and the Receiver

   have completed the liquidation of all assets, at which time they will present to the Court

   supplemental memoranda detailing their proposal for the itemization and distribution of the

   Settlement Fund.




                                                   - 14 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 16 of 17




                                      Respectfully submitted,

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                                       - 15 -
Case 9:16-cv-80060-KAM Document 111 Entered on FLSD Docket 05/19/2017 Page 17 of 17




                                  CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the

   Clerk of Court on this 19th day of May, 2017, using the CM/ECF system, and that a true and

   correct copy will be served in accordance with the Federal Rules of Civil Procedure and/or the

   District’s Local Rules and procedures to: PROJECT INVESTORS, INC. d/b/a Cryptsy c/o

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                                                - 16 -
